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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :       CASE NO. 21-cr-003 (RCL)
               v.                            :
                                             :
JACOB CHANSLEY,                              :
                                             :
                      Defendant.             :


          MOTION FOR AN ORDER TO DISCLOSE ITEMS PROTECTED BY
               FEDERAL RULE OF CRIMINAL PROCEDURE 6(e)

       The United States of America respectfully moves for entry by this Court of an order

permitting the disclosure of information protected by Federal Rule of Criminal Procedure 6(e).

The United States requests permission to publicly reference portions of the grand jury transcript

in this matter to adequately respond to the defendant’s Motion to Vacate, Set Aside or Correct the

Sentence. ECF No. 117.

       WHEREFORE, the United States respectfully requests an order authorizing the disclosure

of the materials described above.

                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             UNITED STATES ATTORNEY
                                             D.C. Bar No. 481052

                                             BY:     /s/
                                             KIMBERLY L. PASCHALL
                                             Assistant United States Attorney
                                             National Security Section
                                             D.C. Bar No. 1015665
                                             601 D Street, N.W.,
                                             Washington, D.C. 20530
                                             202-252-2650
                                             Kimberly.Paschall@usdoj.gov

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